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UNlTED STATES OF AMER|CA

 

P|a`lntif‘f

VS.
CR. NO. 05-20132-[)

R|CHARD ESTEVANES

Defendant.

 

oRoER oN coNTlNuANcE AND sPEcli=YiNG PERloo oF EXCLUDABLE DELAY
AND SETT|NG

 

This cause is scheduled for a report date on July 21, 2005. Counsel for the
defendant requested a continuance due to the unavailability of a flight caused by the
severe weather conditions associated with l-lurricane Emiiy.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursdayl August 25l 2005l at 9:00 a.m., in Courtroom 3. 9th Floor of
the Federal Bui|dingl Memphis, TN.

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

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with Rule 55 and

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UNlTED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
ease 2:05-CR-20132 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Charles A. Banker
1 18 West Peean Blvd.
MeAllen, TX 78501

Riehardo L. Salinas
2011 North Conway
1\/lission7 TX 78572

Larry E. Copeland

OZMENT COPELAND & HAYS
138 N. Third St.

an Floor

1\/lemphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

